                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

IN RE:                                           )
                                                 )       Case No.: 21-bk-02847
EverBuilding Group, Inc.,                        )
                                                 )       Chapter 11
                         Debtor.                 )       Judge Harrison


        THE DEADLINE FOR FILING A TIMELY RESPONSE IS January 4, 2022.
   THE HEARING WILL BE January 18, 2022 AT 9 AM, COURTROOM 3, 701 BROADWAY
                        NASHVILLE, TENNESSEE 37203

                OBJECTION TO DEBTOR’S MOTION TO SET ASIDE DISMISSAL

                  The U.S. Trustee, Region 8, objects to Debtor’s Motion to Set Aside Dismissal

because Debtor has still not provided the required documents to the U.S. Trustee and the deadline

to object to discharge has run. The Agreed Order entered on October 28, 2021, by and between the

U.S. Trustee and Debtor’s counsel (Docket Entry 25, “Agreed Order”) required, among other

things, that:

         (i)      Debtor shall file its September monthly operating report by November 1, 2021, and

                  its October monthly operating report by November 22, 2021,

         (ii)     Debtor shall answer each question on the monthly operating report form and list

                  the source for each deposit and the payee for each disbursement, and

         (iii)    Debtor shall provide the U.S. Trustee a list of all constructions projects in which it

                  has received deposits that have not been completed by November 22, 2021.

The Agreed Order provided that, if Debtor failed to comply with the provisions of the Agreed

Order, Debtor’s case would be dismissed without further consideration by the Court. Debtor has

failed to comply with the provisions specified in the Agreed Order by failing to file his October

Monthly Operating Report, failing to provide a list of all construction projects in which it has



Case 3:21-bk-02847          Doc 40    Filed 12/20/21 Entered 12/20/21 16:32:45              Desc Main
                                      Document     Page 1 of 2
received deposits and failing to detail the source of deposits and payee of disbursements in its

September Monthly Operating Report, as indicated in the U.S. Trustee’s Notice of Default. Docket

Entry 34. As a result, the Court dismissed Debtor’s case on December 2, 2021. Docket Entry 37.

Despite Debtor’s assertions in the Motion to Set Aside, no additional documents have been

provided to the U.S. Trustee since the dismissal. Debtor has also failed to hire a chief restructuring

officer as required by the Agreed Order and Mr. Stone, the proposed professional, has not been

hired or received a retainer. There is no indication Debtor is able to reorganize.

       WHEREFORE, the U.S. Trustee respectfully requests that the Court deny Debtor’s Motion

to Set Aside Dismissal and other such relief as may be appropriate.



                                               Respectfully submitted,

                                               PAUL RANDOLPH
                                               Acting US Trustee, Region 8

                                               /s/ Megan Seliber
                                               MEGAN SELIBER
                                               Trial Attorney for the U.S. Trustee
                                               318 Customs House, 701 Broadway
                                               Nashville, TN 37203
                                               (615) 695-4060; 615-736-2260 (fax)
                                               Megan.Seliber@usdoj.gov


                                 CERTIFICATE OF SERVICE

        I certify that on December 20, 2021, a copy of the foregoing document was sent
electronically to registered ECF users and by first class mail, postage prepaid, to the following:

 EverBuilding Group, Inc.                           STEVEN L. LEFKOVITZ
 1038 Black Gum Ln.                                 618 CHURCH ST STE 410
 Clarksville, TN 37043
                                                    NASHVILLE, TN 37219

                                               /s/ Megan Seliber
                                               Megan Seliber




Case 3:21-bk-02847          Doc 40   Filed 12/20/21 Entered 12/20/21 16:32:45             Desc Main
                                     Document     Page 2 of 2
